Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 1 of 20 PageID: 8




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Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 4 of 20 PageID: 11



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Counsel for Plaintiff – Abira Medical Laboratories, LLC d/b/a Genesis Diagnostics

 ABIRA MEDICAL LABORATORIES, LLC                         SUPERIOR COURT OF NEW JERSEY
 d/b/a GENESIS DIAGNOSTICS,                              MERCER COUNTY
                                                         LAW DIVISION – CIVIL PART
                          Plaintiff

 vs.                                                     DOCKET NO.

 BLUE CROSS BLUE SHIELD OF
 MONTANA AND THEIR AFFILIATES,                           COMPLAINT FOR DAMAGES
 ABC COMPANIES 1-100 AND
 JOHN DOES 1-100,
                  Defendants.                            JURY TRIAL DEMANDED

                                            I. INTRODUCTION

         1.      This is a breach of contract action. Defendant intentionally and unlawfully refused

to     pay    Plaintiff   for    services    rendered.    Plaintiff   seeks   damages   of   $193,164

(compensatory damages of $64,388, trebled pursuant to the New Jersey Consumer Fraud Act),

plus punitive damages, interest, and costs of suit, including attorney’s fees. In support of thereof,

Plaintiff respectfully states:

                                              II. PARTIES

                                               PLAINTIFF

         2.      Plaintiff, Abira Medical Laboratories, LLC d/b/a Genesis Diagnostics is a

domestic limited liability company organized under the laws of the State of New Jersey.




                                               Page 1 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 2 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 5 of 20 PageID: 12



                                          DEFENDANTS

        3.      Defendant Blue Cross Blue Shield of Montana provides health insurance services

throughout New Jersey, including without limitation, Mercer County, and has its principal place

of business at 3645 S. Alice Street, Helena, Montana 59604.

        4.      Defendant Health Care Service Corporation provides health insurance services

throughout New Jersey, including without limitation, Mercer County, and has its principal place

of business at 300 East Randolph Street, Chicago, IL 60601.

        5.      Defendants are affiliates, or they own each other, or they are aliases (“a/k/a”) of

each other, or they are doing business as (“d/b/a”) each other.

                                 III. JURISDICTION AND VENUE

        6.      Jurisdiction is proper in this matter, seeing Defendants conduct business in the State

of New Jersey. Moreover, this Court “may exercise in personam jurisdiction over a non-resident

defendant ‘consistent with due process of law.’” Bayway Refining Co. v. State Utilities, Inc., 333

N.J. Super. 420, 428 (App. Div. 2000) (quoting R. 4:4-4(b)(1)). Hence, this Court has personal

jurisdiction over the Defendants by virtue of R. 4:4-4.

        7.      Subject matter jurisdiction of this action is proper herein by virtue of N.J. Const.,

Art. VI 3, 2. See also R. 4:3-1(a)(5).

        8.      Venue is proper in this Court pursuant to R. 4:3-2(a) because a substantial part of

the events, transactions and/or occurrences giving rise to Plaintiff’s claims set forth herein

occurred within this judicial district.

        9.      Venue is also proper in this Court pursuant to R.4:3-2(b).




                                            Page 2 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 3 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 6 of 20 PageID: 13



                                             IV. FACTS

       10.     Plaintiff operated a licensed medical testing laboratory business, which provided

services nationwide, with approximately 150 employees, including but not necessarily limited to

physicians, scientists, technicians, administrative personnel, and sales representatives.

       11.     As part of its business model, Plaintiff performed clinical laboratory, toxicology,

pharmacy, genetics, and addiction rehabilitation testing services on specimen submitted by

referring medical service providers, for numerous patients located throughout the United States

(the “Laboratory Testing Services”).

       12.     Plaintiff held a regional designation to perform first responder testing for police,

firefighters, and healthcare workers, and provided testing for prison systems in multiple counties,

including New Jersey and Pennsylvania.

       13.     Physicians and patients relied upon Plaintiff to provide the results from

Laboratory Testing Services in order to inform medical decisions on patient care and public safety.

       14.     Industry practice is such that:

                   i. health insurance issuer’s subscriber/member either walk-in or are referred to

                      a laboratory where they submit specimen for testing,

                   ii. the laboratory tests the specimen, and submits a claim/invoice to the

                      health insurance issuer, and

                  iii. the health insurance issuer pays the claim pursuant to the applicable fee list

                      or fee schedule.

       15.     Any licensed testing laboratory can plug and play into this industry practice,

to establish a contract with any health insurance issuer, by providing specimen testing services to

a subscriber/member, to be compensated according to the applicable fee list or fee schedule.


                                            Page 3 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 4 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 7 of 20 PageID: 14



       16.     Plaintiff tendering service to the Defendant’s subscriber/member established a

contract between the Plaintiff and Defendant.

       17.     Plaintiff had every expectation that Defendants would honor their obligations and

properly pay Plaintiff for the testing services it provided to Defendants’ subscribers and/or

members.

       18.     Defendants, however, either failed to pay or underpaid Plaintiff for its

laboratory and diagnostic testing services, that Plaintiff provided to Defendants’ subscribers

and/or members.

                                     V. CAUSES OF ACTION

                                      COUNT ONE
                                           ~
                                  BREACH OF CONTRACT

       29.     Plaintiff realleges and incorporates herein by reference, each of the foregoing

allegations.

       30.     Plaintiff’s adherence to industry practice to provide laboratory testing on specimen

from Defendant’s subscribers/members, where per industry practice, Defendants were supposed

to pay Plaintiff according to the applicable fee schedule, constitutes a valid and binding contract

between Plaintiff and Defendants (the “Contract”).

       31.     Plaintiff has performed all its obligations under the Contract, including without

limitation properly submitting claims to Defendants as required by the Contract, and has not

breached any of the terms therein.

       32.     Pursuant to the Contract, Plaintiff was, among other things, entitled to have its

claims for services rendered to Defendants’ subscribers/members processed and paid promptly by

Defendants.


                                           Page 4 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 5 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 8 of 20 PageID: 15



       33.     Defendants repeatedly breached the Contract by either failing to respond at all to

properly submitted claims or, for those claims in which Defendants did choose to respond,

regularly refusing to pay and/or underpaying claims submitted by Plaintiff, for reasons that were

(and remain) entirely groundless.

       34.     Due to Defendants’ multiple breaches of the Contract, Plaintiff has been deprived

of thousands of dollars to which Plaintiff is contractually (and otherwise) entitled.

       35.     Defendants made no payments on the balance due and owing, which totals $64,388,

for services rendered by the Plaintiff to Defendants’ subscribers and/or members.

       36.     Defendants’ failure to pay Plaintiff as required under the Contract

(and applicable law) caused Plaintiff to suffer damages, in the amount of $64,388.

                            COUNT TWO
                                 ~
     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

       37.     Plaintiff realleges and incorporates herein by reference, each of the foregoing

allegations.

       38.     The Contract constitutes valid and binding contract between Plaintiff and

Defendants.

       39.     Implied in all contracts is a covenant of good faith and fair dealing.

       40.     Defendants’ actions here, including but not limited to, its failure and/or refusal to

respond at all to properly submitted claims or, for those claims in which Defendants did choose to

respond, regularly refusing to pay and/or underpaying claims submitted by Plaintiff for reasons

that were (and remain) entirely groundless, breached these implied covenants.

       41.     Consequently, caused Plaintiff to suffer damages, for which Defendants are liable,

in the amount of $64,388.


                                            Page 5 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 6 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 9 of 20 PageID: 16



                                  COUNT THREE
                                        ~
                           FRAUDULENT MISREPRESENATION

       42.      Plaintiff realleges and incorporates herein by reference, each of the foregoing

allegations.

       43.      Plaintiff relied on industry practice and the course of conduct between Plaintiff and

Defendants, and also relied upon Defendants’ representations to compensate Plaintiff for

performing testing services to Defendants’ members and/or subscribers.

       44.      Plaintiff’s reliance on Defendants’ representations was reasonable and justified.

       45.      As a result, Defendants are precluded, both at law and in equity, from asserting

rights which might have existed against Plaintiff, because:

               i. Defendants induced to adversely change its position, to Plaintiff provide to

                 Defendants’ subscribers and/or members, testing services, under the belief that

                 Defendants would compensate Plaintiff for performing such services,

               ii. Plaintiff, in good faith, relied on Defendants’ representations and the parties’

                 course of dealing, and performed said testing services.

       46.      Moreover, Defendants are precluded, both at law and in equity, from asserting

rights which might have existed against Plaintiff, seeing Plaintiff in good faith relied upon and

expected Defendants to meet payment obligations, and Defendants induced Plaintiff to adversely

change its position to perform testing services, to Defendants’ subscribers and/or members, under

the belief that Defendants would compensate Plaintiff for such services.

       47.      Defendants have demonstrated that that they do not intend to pay Plaintiff for

providing testing services, for Defendants’ subscribers and/or members, thus violating

Defendants’ own reimbursement standards and protocols.


                                           Page 6 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 7 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 10 of 20 PageID: 17



       48.     Defendants’ representations induced Plaintiff to perform testing services to

Defendants’ subscribers and/or members, whereas Defendants knew at the time of issuing said

representations, that Defendants would not pay for Plaintiff’s services, and knew of their improper

practice of reimbursing for services, at amounts far below those required by Defendants’ own

policies and protocols.

       49.     Defendants have therefore fraudulently induced Plaintiff to perform testing services

for Defendants’ subscribers and/or members, for which Defendants had no intention to pay, and

for which Defendants, in fact, did not pay, or paid at amounts far below those required by

Defendants’ own policies and protocols.

       50.     By failing to pay Plaintiff the usual, customary, and reasonable charges for its

professional services, in accordance with Defendants’ own payment standards and protocols,

Defendants breached both their obligation to reimburse Plaintiff for providing testing services for

Defendants’ subscribers and/or members.

       51.     Consequently, Defendants caused Plaintiff to suffer damages, for which

Defendants are liable, in the amount of $64,388.

                                    COUNT FOUR
                                         ~
                            NEGLIGENT MISREPRESENATION

       52.     Plaintiff realleges and incorporates herein by reference, each of the foregoing

allegations.

       53.     Plaintiff relied on the course of conduct between Plaintiff and Defendants, and also

relied upon Defendants’ representations to compensate Plaintiff for performing testing services to

Defendants’ members and/or subscribers.

       54.     Plaintiff’s reliance on Defendants’ representations was reasonable and justified.


                                           Page 7 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 8 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 11 of 20 PageID: 18



       55.     Whereas Defendants knew or should have known that they could not pay Plaintiff

the contractual, customary, and reasonable charges for Plaintiff’s professional services.

       56.     Defendants failed to compensate Plaintiff, as necessary.

       57.     Consequently, proximately caused Plaintiff to suffer damages, for which

Defendants are liable, in the amount of $64,388.

                                   COUNT FIVE
                                       ~
                       EQUITABLE AND PROMISSORY ESTOPPEL

       58.     Plaintiff realleges and incorporates herein by reference, each of the foregoing

allegations.

       59.     Plaintiff relied on the course of conduct between Plaintiff and Defendants, and also

relied upon Defendants’ representations to compensate Plaintiff for performing testing services to

Defendants’ members and/or subscribers.

       60.     Plaintiff’s reliance on Defendants’ representations was reasonable and justified.

       61.     Whereas Defendants knew or should have known that they could not pay Plaintiff

the contractual, customary, and reasonable charges for Plaintiff’s professional services.

       62.     Defendants failed to compensate Plaintiff, as necessary.

       63.     Consequently, proximately caused Plaintiff to suffer damages, for which

Defendants are liable, in the amount of $64,388.

                                 COUNT SIX
                                       ~
                      QUANTUM MERUIT / UNJUST ENRICHMENT

       64.     Plaintiff realleges and incorporates herein by reference, each of the foregoing

allegations.

       65.     In performing testing services for Defendants’ subscribers and/or members, for

which Defendants have no intention to pay, and for which Defendants, in fact, did not pay, or paid
                                         Page 8 of 11
    MER-L-001186-23 06/20/2023 12:20:17 PM Pg 9 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 12 of 20 PageID: 19



at amounts far below those required by Defendants’ own policies and protocols, Plaintiff conferred

a benefit upon Defendants’ subscribers and/or members and, therefore, upon Defendants.

       66.     Moreover, in performing the testing services to Defendants’ subscribers and/or

members, for which Defendants have no intention to pay, and for which Defendants, in fact, did

not pay, or paid at amounts far below those required by Defendants’ own policies and protocols,

Plaintiff conferred a benefit upon Defendants’ subscribers and/or members and, therefore, upon

Defendants.

       67.     Defendants have enriched themselves at Plaintiff’s expense by failing and refusing

to compensate Plaintiff for providing testing services to Defendants’ subscribers and/or members,

and instead Defendants are using those funds for Defendants’ own purposes.

       68.     It is against equity and good conscience to permit Defendants to retain the money

it intentionally and wrongfully failed to pay to Plaintiff.

       69.     Plaintiff is therefore entitled to recover all funds it is owed for providing testing

services, which Defendants intentionally and wrongfully failed to pay to Plaintiff.

       70.     By reason of the unjust enrichment of Defendants at Plaintiff's expense, Plaintiff is

entitled to judgment against Defendants in the amount of not less than $64,388, plus interest.

                            COUNT SEVEN
                                 ~
           NEW JERSEY CONSUMER FRAUD ACT, N.J.S.A § 56:8-2:
      UNCONSCIONABLE COMMERCIAL PRRACTICE, DECEPTION, FRAUD,
       FALSE PRETENSE, FALSE PROMISE, MISREPRESENTATION, AND,
                    OMISSION OF MATERIAL FACT.

       71.     Plaintiff realleges and incorporates herein by reference, each of the foregoing

allegations.

       72.     Each Defendant is a “person” as defined by the Consumer Fraud Act (“CFA”) at

N.J.S.A § 56:8-1(d).

                                            Page 9 of 11
   MER-L-001186-23 06/20/2023 12:20:17 PM Pg 10 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 13 of 20 PageID: 20



       73.     As Plaintiff’s testing services were provided broadly to the public, its services are

defined as “merchandise” under N.J.S.A § 56:8-1(c).

       74.     Plaintiff relied on Defendants’ representations to compensate Plaintiff for

performing testing services to Defendants’ members and/or subscribers.

       75.     Plaintiff’s reliance on Defendants’ representations was reasonable and justified.

       76.     Whereas Defendants knew they could not or would not pay Plaintiff the contractual,

customary, and reasonable charges for Plaintiff’s professional testing services, thereby securing

Plaintiff’s services by deception, fraud, false pretense, false promise, misrepresentation, and

omission of material facts, thus constituting an unconscionable business practice, in connection

with Plaintiff’s merchandise, pursuant to N.J.S.A § 56:8-2.

       77.     Plaintiff’s reliance on Defendants’ representations was reasonable and justified.

       78.     Unconscionably, Defendants have refused and failed to compensate Plaintiff as

appropriate.

       79.     Consequently, Defendants caused Plaintiff to suffer damages, for which

Defendants are liable, in the amount of $64,388, which, pursuant to treble damages of the CFA

totals $193,164, under N.J.S.A § 56:8-19.

                                    VI. RELIEF SOUGHT

WHEREFORE, the above premises being considered, Plaintiff prays for judgment against

Defendants, jointly and/or severally, and requests the following:

          i. Compensatory damages, in the amount of $64,388,

         ii. Punitive damages,

        iii. Costs of suit and attorney fees in connection with this action, pursuant to the CFA at
             N.J.S.A § 56:8-19;

        iv. Treble damages of $193,164, pursuant to the CFA at N.J.S.A § 56:8-19;

                                            Page 10 of 11
   MER-L-001186-23 06/20/2023 12:20:17 PM Pg 11 of 11 Trans ID: LCV20231841720
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 14 of 20 PageID: 21



         v. Pre-judgment and post-judgment interest at the highest rate allowed by law; and

         vi. All such other and further relief, as the Court deems equitable and just.

                                      VII. JURY REQUEST

       Plaintiff, Abira Medical Laboratories, LLC, d/b/a Genesis Diagnostics request a Jury on

all issues in this Complaint.

                        VIII. DESIGNATION OF TRIAL COUNSEL

       Pursuant to Rule 4:25-4, Aderemilekun A. Omojola, Esq. is hereby designated as trial

counsel for Plaintiff, Abira Medical Laboratories, LLC, d/b/a Genesis Diagnostics.

                                    Respectfully submitted,

Dated: June 19, 2023,                       s/ Aderemilekun Omojola, Esq.
                                     957 Route 33 | Suite 12 | #322
                                     Hamilton Square | New Jersey | 08690
                                     Tel: 212.220.1616 | Fax: 609.798.0327
                                     aomojola@genesisdx.com
                                     Attorney for Plaintiff,
                                     Abira Medical Laboratories, LLC, d/b/a Genesis Diagnostics

                          CERTIFICATION PURSUANT TO R 4:5-1
       I hereby certify that the matter in controversy, captioned above, is not the subject of any

other action pending in any Court or arbitration proceeding, and it is not contemplated that the

said matter in controversy shall be the subject of any other action or arbitration proceeding. To

the best of my knowledge, all parties in this matter have been joined in the action.

Dated: June 19, 2023,                       s/ Aderemilekun Omojola, Esq.
                                     957 Route 33 | Suite 12 | #322
                                     Hamilton Square | New Jersey | 08690
                                     Tel: 212.220.1616 | Fax: 609.798.0327
                                     aomojola@genesisdx.com
                                     Attorney for Plaintiff,
                                     Abira Medical Laboratories, LLC, d/b/a Genesis Diagnostics




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Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 15 of 20 PageID: 22




                        Civil Case Information Statement
Case Details: MERCER | Civil Part Docket# L-001186-23

Case Caption: ABIRA MEDICAL LABORA TORIES LL VS                  Case Type: CONTRACT/COMMERCIAL TRANSACTION
BLUE CROSS BLU                                                   Document Type: Complaint with Jury Demand
Case Initiation Date: 06/20/2023                                 Jury Demand: YES - 6 JURORS
Attorney Name: ADEREMILEKUN ADEOLUWA OMOJOLA                     Is this a professional malpractice case? NO
Firm Name: ABIRA MEDICAL LABORATORIES LIMITED                    Related cases pending: NO
LIABILITY COMPANY                                                If yes, list docket numbers:
Address: 957 ROUTE 33 SUITE 12, #322                             Do you anticipate adding any parties (arising out of same
HAMILTON SQUARE NJ 08690                                         transaction or occurrence)? NO
Phone: 2122201616                                                Does this case involve claims related to COVID-19? NO
Name of Party: PLAINTIFF : Abira Medical Laboratories LLC
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Abira Medical Laboratories
                                                                 LLC? NO
(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? YES
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? YES




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/20/2023                                                              /s/ ADEREMILEKUN ADEOLUWA OMOJOLA
Dated                                                                                               Signed
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Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 16 of 20 PageID: 23
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 17 of 20 PageID: 24




                 EXHIBIT
                   D
           MER-L-001186-23 06/21/2023 5:11:58 AM Pg 1 of 1 Trans ID: LCV20231848591
      Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 18 of 20 PageID: 25
MERCER COUNTY COURTHOUSE
CIVIL CASE MANAGMENT OFFICE
175 SOUTH BROAD ST P O BOX 8068
TRENTON          NJ 08650-0068
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (609) 571-4200
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   JUNE 20, 2023
                             RE:     ABIRA MEDICAL LABORA TORIES LL    VS BLUE CROSS BLU
                             DOCKET: MER L -001186 23

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON R BRIAN MCLAUGHLIN

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      008
AT:   (609) 571-4200 EXT 74314.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: ADEREMILE A. OMOJOLA
                                             ABIRA MEDICAL LABORATORIES LIM
                                             957 ROUTE 33
                                             SUITE 12, #322
                                             HAMILTON SQUARE NJ 08690

ECOURTS
Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 19 of 20 PageID: 26




                EXHIBIT
                   E
    Case 3:23-cv-20755-GC-JBD Document 1-2 Filed 09/28/23 Page 20 of 20 PageID: 27

                                                          SUMMONS
 Attorney(s) Aderemilekun Omojola, Esquire
                                                                                              Superior Court of
 Office Address 957 Route 33, Suite 12, #322
 Town, State, Zip Code Hamilton Square, NJ 08690                                                New Jersey
                                                                                             Mercer             County
 Telephone Number 212-220-1616                                                               Law                Division
 Attorney(s) for Plaintiff ABIRA MEDICAL                                              Docket No: MER-L-001186-23
 LABORATORIES, LLC d/b/a
                                                           glue Cross Blue
                                                                           Shield of
 GENESIS DIAGNOSTICS
                                                                     RECEIVED Montana
          Plaintiff(s)
                                                                  AUG 3 0 2023                 CIVILSACTION
     vs.
                                                            LEGAL DEPARTMENT                      UMON
                                                                                                     M
 Blue Cross Blue Shield of Montana
      Detendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

     The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
lutp://www.njeourts.gov.) If the complaint is one in foreclosure, then you must file your written answer or motion and proof
of service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing
fee payable to the Treasurer, State of New Jersey and a completed Case Information Statement (available from the deputy
clerk of the Superior Court) must accompany your answer or motion when it is filed. You must also send a copy of your
answer or motion to plaintiffs attorney whose name and address appear above, or to plaintiff, if no attorney is named above.
A telephone call will not protect your rights; you must file and serve a written answer or motion (with fee of $175.00 and
completed Case Information Statement) if you want the court to hear your defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at http://www.njcourts.gov.

                                                                         /s/ Michelle Smith
                                                                           Clerk of the Superior Court


DATED:       06/22/2023
Name of Defendant to Be Served: Blue Cross Blue Shield of Montana

Address of Defendant to Be Served. 3645 S. Alice Street. Helena, Montana 59604




Revised 11/17/2014, CN 10792-English (Appendix XII-A)
